Case 2:23-cv-01165-KM-LDW Document 8 Filed 05/01/23 Page 1 of 4 PageID: 238




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

    TREY GREENE, individually and on behalf
    of all others similarly situated,              Case No. 2:23-cv-01165

                  Plaintiff

    v.

    ZAC PRINCE, FLORI MARQUEZ, TONY
    LAURA, JENNIFER HILL, and GEMINI
    TRADING, LLC,

                   Defendants.


         MOTION OF ANTONIE ELAS FOR APPOINTMENT AS LEAD PLAINTIFF AND
                    APPROVAL OF SELECTION OF LEAD COUNSEL

           PLEASE TAKE NOTICE that on a date and time that may be set by the Court, before

the Honorable Kevin McNulty, at the United States District Court for the District of New Jersey,

located at Courtroom PO 04, Martin Luther King Building and U.S. Courthouse, 50 Walnut Street,

Newark, New Jersey 07102, Antonie Elas will respectfully move before this Court for entry of an

Order, pursuant to the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), and the

Securities Act of 1933, 15 U.S.C. § 77z-1(a)(3)(B), as amended by the Private Securities Litigation

Reform Act of 1995 (the “PSLRA”): (1) appointing Antonie Elas as Lead Plaintiff; (2) approving

of his selection of Lockridge Grindal Nauen P.L.L.P. and Gustafson Gluek PLLC as Lead Counsel

for the class; and (3) providing any further relief that the Court may deem just and proper.1


1
  A similar securities class action was filed in the U.S. District Court for the District of
Massachusetts, also naming as defendants Prince and Marquez, as well as others. See Elas v.
Prince, et al., No. 1:12-cv-10472 (D. Mass). The lead plaintiff deadline in Elas is also May 1,
2023. Shortly after the Greene and Elas actions were filed, BlockFi and its affiliates in bankruptcy
(the “Debtors”) filed an adversary action seeking to stay the securities lawsuits. See BlockFi Inc.
v. Greene, et al., Adv. Pro. No. 23-1071-MBK (D.N.J. Bankr.). On March 23, 2023, the
Bankruptcy Court entered a temporary restraining order, pursuant to Fed. R. Civ. P. 65 and Fed.


953008.2
Case 2:23-cv-01165-KM-LDW Document 8 Filed 05/01/23 Page 2 of 4 PageID: 239




         This motion is made on the grounds that Mr. Elas believes he is “the most adequate

plaintiff” under the PSLRA and should, therefore, be appointed Lead Plaintiff. Specifically, Mr.

Elas believes that he has the largest financial interest in the relief sought by the Class in this action

by virtue of, among other things, the significant investment he made and losses he incurred on his

class period transactions in his BlockFi Investment Account. Furthermore, Mr. Elas satisfies the

requirements of Rule 23 of the Federal Rules of Civil Procedure because his claims are typical of

other class members’ claims and because he will fairly and adequately represent the interest of the

class.

         This motion is based upon the accompanying Memorandum of Law, the Declaration of

Stephen J. Teti filed herewith, the pleadings and other filings herein, and such other written or oral

argument as may be permitted by the Court.

         WHEREFORE, Antonie Elas respectfully requests that the Court: (1) appoint him as Lead

Plaintiff pursuant to the PSLRA; (2) approve of his selection of Lockridge Grindal Nauen P.L.L.P.

and Gustafson Gluek PLLC as Lead Counsel for the Class; and (3) grant any additional relief as

the Court may deem just and proper.




R. Bankr. P. 7065, temporarily enjoining further litigation of the Greene and Elas matters. See
ECF No. 5. On April 6, 2023, the Bankruptcy Court entered an Agreed Stipulation and Order
prohibiting the further prosecution of the Greene and Elas matters “except for the initial filing of
the lead plaintiff/lead counsel motions provided for in the PSLRA . . . .” See ECF No. 6 at ¶ 3.
Specifically, the Bankruptcy Court ordered that “potential lead plaintiffs [may] file motions for
appointment of lead plaintiffs in the” Greene and Elas matters, but that “[a]ll other actions and
proceedings in or regarding [those] Actions (including any responses to motions for appointment
of lead plaintiffs, or any motions for consolidation or transfer) remain enjoined and stayed . . . .”
Id. at ¶ 5. Mr. Elas therefore expressly reserves the right to, but does presently, seek consolidation
and/or transfer of the Greene action with the present action. Pursuant to the Bankruptcy Court’s
Order, Mr. Elas and any other lead plaintiff movants may not file opposition or reply briefs in
further support of this motion until the bankruptcy stay is lifted. See id.

                                                   2
953008.2
Case 2:23-cv-01165-KM-LDW Document 8 Filed 05/01/23 Page 3 of 4 PageID: 240




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                                      3
953008.2
Case 2:23-cv-01165-KM-LDW Document 8 Filed 05/01/23 Page 4 of 4 PageID: 241




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                                      4
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